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Inmate Name: ISRAEL, RAUL                                                                        Reg #: 43932-004
Date of Birth:      1944                                 Sex:      M   Race: WHITE               Facility: MIA
Encounter Date: 07/06/2020 14:37                         Provider: Cavalcanti, Selenia RN        Unit:     C01

     Date              Time             Value(%) Air                        Provider
     07/06/2020        14:40 MIA              97 Room Air                   Cavalcanti, Selenia RN

Exam:
   General
      Affect
           Yes: Cooperative
          Appearance
             Yes: Alert and Oriented x 3
          Nutrition
              Yes: Within Normal Limits
     Skin
         General
            Yes: Within Normal Limits
     Eyes
        General
           Yes: PERRLA
     Pulmonary
        Observation/Inspection
            Yes: Within Normal Limits
          Auscultation
             Yes: Clear to Auscultation
     Cardiovascular
         Observation
            Yes: Tachycardia
     Gastrointestinal
        General
             Yes: Within Normal Limits
             No: Diarrhea, Vomiting
ASSESSMENT:
        Other
        Suspect/probable COVID-19 case, U07.2 - Current

PLAN:

New Laboratory Requests:
   Details                                                   Frequency                Due Date              Priority
   Lab Tests-C-COVID-19 Novel Coronavirus                    One Time                 07/13/2020 00:00      Routine
Disposition:
     Follow-up at Chronic Care Clinic as Needed
     Return Immediately if Condition Worsens
     Placed In Isolation
     Notify Medical Duty Officer

Patient Education Topics:
     Date Initiated Format                             Handout/Topic                             Provider               Outcome

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                                                         Bureau of Prisons
                                                          Health Services
                                                         Clinical Encounter
Inmate Name: ISRAEL, RAUL                                                                             Reg #: 43932-004
Date of Birth:      1944                                     Sex:      M   Race: WHITE                Facility: MIA
Encounter Date: 07/06/2020 14:05                             Provider: Cavalcanti, Selenia RN         Unit:     C01


Nursing - Protocol: Cough encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                  Provider: Cavalcanti, Selenia RN
       Chief Complaint: Cough
       Subjective:   Inmate complaints of cough and sore throat.
       Pain:         Yes
       Pain Assessment
         Date:                  07/06/2020 14:06
         Location:              Throat
          Quality of Pain:              Nagging
          Pain Scale:                   4
          Intervention:                 evaluation
          Trauma Date/Year:
          Injury:
          Mechanism:
          Onset:                        1-2 Days
          Duration:                     1-2 Days
          Exacerbating Factors:         none
          Relieving Factors:            none
          Reason Not Done:
          Comments:
ROS:
   Nursing Protocol
       Cough
           Yes: Productive cough (Describe: inmate describes as clear phlem), Known duration (Describe: 2 days),
           Scratchy throat, Congested, Meds, allergies & health problems reviewed, PPD status reviewed
           No: Fever, Night sweats, Unexplained weight loss, Coughing up blood

OBJECTIVE:
Temperature:
     Date             Time             Fahrenheit       Celsius Location                 Provider
     07/06/2020       14:07 MIA              97.2          36.2 Forehead                 Cavalcanti, Selenia RN

Pulse:
     Date           Time              Rate Per Minute          Location                  Rhythm     Provider
     07/06/2020 14:07 MIA                              107     Via Machine                          Cavalcanti, Selenia RN
Respirations:
     Date                  Time                Rate Per Minute Provider
     07/06/2020            14:07 MIA                           17 Cavalcanti, Selenia RN
Blood Pressure:

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                                                        Bureau of Prisons
                                                         Health Services
                                                        Clinical Encounter
Inmate Name: ISRAEL, RAUL                                                                             Reg #: 43932-004
Date of Birth:      1944                                    Sex:      M    Race: WHITE                Facility: MIA
Encounter Date: 07/15/2020 13:15                            Provider: Alarcon, Inerio MD/CD           Unit:     E02


Physician - Follow up Visit encounter performed at Health Services.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Alarcon, Inerio MD/CD
        Chief Complaint: GENERAL
        Subjective:   76 year old inmate on isolation room due general malaise and COVID-19 test positive. Inmate
                      denied fatigue shortness of breath, dyspnea, cough, fever, however inmate report poor
                      appetite. Inmate alert, orient x 3.
                      Inmate was encouraged to eat plenty of fluids.
        Pain:         No

OBJECTIVE:
Temperature:
    Date              Time             Fahrenheit      Celsius Location                 Provider
    07/15/2020        13:43 MIA              97.1         36.2                          Alarcon, Inerio MD/CD

Pulse:
     Date          Time               Rate Per Minute         Location                  Rhythm     Provider
     07/15/2020 13:43 MIA                             107                                          Alarcon, Inerio MD/CD
SaO2:
     Date             Time             Value(%) Air                           Provider
     07/15/2020       13:43 MIA              95                               Alarcon, Inerio MD/CD

Exam:
   Pulmonary
      Auscultation
          Yes: Clear to Auscultation

ASSESSMENT:

Confirmed case COVID-19, U07.1 - Current

PLAN:
Renew Medication Orders:
Rx#         Medication                                                                       Order Date
136634-MIA Cyanocobalamin (Vit B-12) 1000 MCG Tab                                            07/15/2020 13:15
                  Prescriber Order:   Take one tablet (1000 MCG) by mouth daily x 180 day(s)
                        Indication: Other vitamin B12 deficiency anemia
136619-MIA       Ferrous Gluconate 324 (5 GR) MG Tab                                                            07/15/2020 13:15
                      Prescriber Order:    Take one tablet by mouth daily x 365 day(s)
                        Indication: Anemia, unspecified
127667-MIA       Atorvastatin 40 MG TAB                                                                  07/15/2020 13:15
                      Prescriber Order:           Take one tablet (40 MG) by mouth at bedtime x 365 day(s)
                        Indication: Hyperlipidemia, mixed
128678-MIA       Spironolactone 25 MG Tab                                                                       07/15/2020 13:15

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                                                                          Bureau of Prisons
                                                                           Health Services
                                                                          Health Problems
Reg #: 43932-004                                     Inmate Name: ISRAEL, RAUL

 Description                                                                               Axis Code Type    Code    Diag. Date Status    Status Date

                                                                            Current
 Other early skin lesions
  06/19/2015 15:17 EST Silva, Alberto DMD                                                  III ICD-9         102.2   06/19/2015 Current    06/19/2015
         Diagnosis: Differential diagnosis to include (1) melanocytic nevus, (2) melanoma.
 Hyperlipidemia, mixed
  07/08/2010 08:41 EST Deleon-Blanco, Miguel MD                                            III ICD-9         272.2   11/21/2008 Current    11/21/2008
  11/21/2008 10:54 EST Cintron, Miguel A MD                                                III ICD-9         272.2   11/21/2008 Current    11/21/2008
 Obesity, unspecified
  12/03/2013 11:03 EST Li, Richard MD                                                          III ICD-9    278.00   12/03/2013 Current    12/03/2013

 Other vitamin B12 deficiency anemia
  06/04/2014 13:23 EST Li, Richard MD                                                          III ICD-9     281.1   06/04/2014 Current    06/04/2014

 Anemia, unspecified
  12/23/2009 13:18 EST Carver, Robert M.D.                                                     III ICD-9     285.9   06/16/2009 Current    06/16/2009
  06/16/2009 09:57 EST Cintron, Miguel A MD                                                    III ICD-9     285.9   06/16/2009 Current    06/16/2009
 Low vision, both eyes, NOS
  06/05/2015 15:09 EST Saint-Val, Chiraly NP                                                   III ICD-9    369.20   06/05/2015 Current    06/05/2015

 Seborheic dermatitis, unspecified
  09/13/2010 09:10 EST Cacho, Jaime MLP                                                        III ICD-9    690.10   06/16/2009 Current    06/16/2009
  06/16/2009 09:57 EST Cintron, Miguel A MD                                                    III ICD-9    690.10   06/16/2009 Current    06/16/2009
 Dermatitis/eczema due to unspecified cause
  06/22/2011 12:47 EST Lee, S. MD                                                              III ICD-9     692.9   06/22/2011 Current    06/22/2011

 Seborrheic keratosis
  12/03/2013 11:03 EST Li, Richard MD                                                          III ICD-9    702.19   12/03/2013 Current    12/03/2013

 Pain in joint, multiple sites
  07/08/2010 08:49 EST Deleon-Blanco, Miguel MD                                                III ICD-9    719.49   07/08/2010 Current    07/08/2010

 Low back pain, lumbago
  12/20/2011 12:22 EST Lee, S. MD                                                              III ICD-9     724.2   12/20/2011 Current    12/20/2011

 Impacted cerumen
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                                 Case 1:95-cr-00314-JAL Document 448-1 Entered on FLSD Docket 07/23/2020 Page 5 of 9
Reg #: 43932-004                                     Inmate Name: ISRAEL, RAUL

 Description                                                                               Axis Code Type    Code   Diag. Date Status      Status Date
  03/27/2019 13:26 EST Chipi, Martha MD                                                         ICD-10      H6120   03/27/2019 Current

 Essential (primary) hypertension
  01/10/2018 15:33 EST Alarcon, Inerio MD/CD                                                       ICD-10     I10   01/10/2018 Current

 Pneumonia, unspecified organism
  03/01/2019 16:01 EST Alarcon, Inerio MD/CD                                                       ICD-10    J189   03/01/2019 Current
        Flu- like symptoms complicated with CAP
 Constipation, unspecified
  01/25/2018 14:21 EST Alarcon, Inerio MD/CD                                                       ICD-10   K5900   01/25/2018 Current

 Pain in unspecified joint
  12/04/2017 09:48 EST Alarcon, Inerio MD/CD                                                       ICD-10   M2550   12/04/2017 Current
         Shoulder.
 Urinary incontinence
  01/25/2018 14:21 EST Alarcon, Inerio MD/CD                                                       ICD-10     R32   01/25/2018 Current

 Retention of urine, unspecified
  10/10/2019 11:55 EST Chipi, Martha MD                                                            ICD-10    R339   10/10/2019 Current

 Pain, unspecified
  06/03/2016 11:14 EST Alarcon, Inerio MD/CD                                                       ICD-10     R52   06/03/2016 Current
         Shoulder.
 Abnormal finding of blood chemistry, unspecified
  03/07/2017 13:56 EST Alarcon, Inerio MD/CD                                                       ICD-10    R799   03/07/2017 Current
         High A1c=6.1%
 Confirmed case COVID-19
  07/13/2020 13:51 EST Funtieo, L. FNP-C                                                           ICD-10   U07.1   07/13/2020 Current

 Presence of aortocoronary bypass graft
  02/12/2018 13:20 EST Chipi, Martha MD                                                            ICD-10    Z951   02/12/2018 Current
        December 15, 2017.


                                                                            Remission
 Acute ischemic heart disease, unspecified
  02/08/2019 14:29 EST Chipi, Martha MD                                                            ICD-10    I249   01/11/2018 Remission    02/08/2019
         CABG x 3 Vessels- Jan 2018
  01/11/2018 14:12 EST Alarcon, Inerio MD/CD                                                       ICD-10    I249   01/11/2018 Current
         "Open heart surgery"

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                                             of Prisons
                                                       Health Services
                                                     Medication Summary
                                                          Historical
Complex: MIA--MIAMI FCI                                          Begin Date: 07/01/2020           End Date: 07/17/2020
Inmate:  ISRAEL, RAUL                                            Reg #:      43932-004            Quarter:  E02-023L

Medications listed reflect prescribed medications from the begin date to end date on this report.
Allergies:                                       Denied


Active Prescriptions
   Acetaminophen 325 MG Tab
   Take one tablet (325 MG) by mouth two times a day AS NEEDED *Please purchase from commissary when these are
   gone if needed*
   Rx#: 140044-MIA         Doctor: Paul, Wilene FNP
   Start: 07/17/20         Exp: 07/24/20                       Pharmacy Dispensings: 14 TAB in 5 days

   Aspirin 81 MG EC Tab
   Take one tablet (81 MG) by mouth each day
   Rx#: 136617-MIA         Doctor: Alarcon, Inerio MD/CD
   Start: 02/07/20         Exp: 02/06/21                                     Pharmacy Dispensings: 165 TAB in 165 days

   Atorvastatin 40 MG TAB
   Take one tablet (40 MG) by mouth at bedtime
   Rx#: 136618-MIA         Doctor: Alarcon, Inerio MD/CD
   Start: 02/07/20         Exp: 02/06/21       D/C: 07/16/20                 Pharmacy Dispensings: 180 tab in 165 days

   Atorvastatin 40 MG TAB
   Take one tablet (40 MG) by mouth at bedtime
   Rx#: 140013-MIA         Doctor: Alarcon, Inerio MD/CD
   Start: 07/16/20         Exp: 07/16/21                                     Pharmacy Dispensings: 30 tab in 6 days

   Cyanocobalamin (Vit B-12) 1000 MCG Tab
   Take one tablet (1000 MCG) by mouth daily
   Rx#: 136634-MIA         Doctor: Alarcon, Inerio MD/CD
   Start: 02/07/20         Exp: 08/05/20      D/C: 07/16/20                  Pharmacy Dispensings: 180 TAB in 165 days

   Cyanocobalamin (Vit B-12) 1000 MCG Tab
   Take one tablet (1000 MCG) by mouth daily
   Rx#: 140014-MIA         Doctor: Alarcon, Inerio MD/CD
   Start: 07/16/20         Exp: 01/12/21                                     Pharmacy Dispensings: 30 TAB in 6 days

   Ferrous Gluconate 324 (37.5 Fe) MG Tab
   Take one tablet by mouth daily
   Rx#: 137563-MIA         Doctor: Alarcon, Inerio MD/CD
   Start: 03/18/20         Exp: 02/11/21      D/C: 07/16/20                  Pharmacy Dispensings: 120 TAB in 126 days

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Complex: MIA--MIAMI FCI                                  Begin Date: 07/01/2020           End Date: 07/17/2020
Inmate:  ISRAEL, RAUL                                    Reg #:      43932-004            Quarter:  E02-023L


Active Prescriptions
   Ferrous Gluconate 324 (37.5 Fe) MG Tab
   Take one tablet by mouth daily
   Rx#: 140015-MIA         Doctor: Alarcon, Inerio MD/CD
   Start: 07/16/20         Exp: 07/16/21                             Pharmacy Dispensings: 30 TAB in 6 days

   Folic Acid 1 MG Tab
   Take one tablet (1 MG) by mouth each day
   Rx#: 136620-MIA         Doctor: Alarcon, Inerio MD/CD
   Start: 02/07/20         Exp: 02/06/21                             Pharmacy Dispensings: 240 TAB in 165 days

   Spironolactone 25 MG Tab
   Take one tablet (25 MG) by mouth twice daily
   Rx#: 140016-MIA         Doctor: Alarcon, Inerio MD/CD
   Start: 07/16/20         Exp: 01/12/21                             Pharmacy Dispensings: 60 TAB in 6 days

   Cholecalciferol (Vit D) 1000 UNIT (25Mcg) Tab
   Take one tablet (1000 UNIT) by mouth every week
   Rx#: 136621-MIA           Doctor: Alarcon, Inerio MD/CD
   Start: 02/07/20           Exp: 02/06/21                           Pharmacy Dispensings: 23.99 TAB in 165 days




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Inmate Name: ISRAEL, RAUL                                                                             Reg #: 43932-004
Date of Birth:      1944                                    Sex:      M    Race: WHITE                Facility: MIA
Encounter Date: 02/06/2020 08:21                            Provider: Alarcon, Inerio MD/CD           Unit:     C01

     Date                  Time               Rate Per Minute Provider
     02/06/2020            08:27 MIA                          12 Alarcon, Inerio MD/CD
Blood Pressure:
     Date       Time               Value         Location         Position              Cuff Size   Provider
     02/06/2020 08:27 MIA          119/65                                                           Alarcon, Inerio MD/CD
SaO2:
     Date             Time             Value(%) Air                           Provider
     02/06/2020       08:27 MIA              98                               Alarcon, Inerio MD/CD
Height:
    Date       Time                    Inches             Cm        Provider
    02/06/2020 08:27 MIA                  70.5          179.1       Alarcon, Inerio MD/CD
Weight:
     Date             Time                 Lbs         Kg Waist Circum. Provider
     02/06/2020       08:27 MIA           182.0       82.6              Alarcon, Inerio MD/CD

Exam:
   Pulmonary
      Auscultation
          Yes: Clear to Auscultation
    Cardiovascular
        Auscultation
           Yes: Regular Rate and Rhythm (RRR)
    Neurologic
       Cranial Nerves (CN)
           Yes: Within Normal Limits, CN 2-12 Intact Grossly
    Mental Health
       Orientation
            Yes: Within Normal Limits, Alert and Oriented x 3

ASSESSMENT:

Anemia, unspecified, 285.9 - Current
Dermatitis due to other specified cause, 692.89 - Resolved
Hyperlipidemia, mixed, 272.2 - Current
Low back pain, lumbago, 724.2 - Current
Acute ischemic heart disease, unspecified, I249 - Remission
Edema, unspecified, R609 - Resolved
Essential (primary) hypertension, I10 - Current
Heart failure, I509 - Resolved

PLAN:
New Medication Orders:
Rx#          Medication                                                                                        Order Date
             Cyanocobalamin Tablet                                                                             02/06/2020 08:21
  Prescriber Order: 1mg Orally Mouth - daily x 180 day(s)
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                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        ISRAEL, RAUL                                                           Reg #:      43932-004
Date of Birth:            1944                        Sex:      M    Race:WHITE            Facility:   MIA
Note Date:          12/20/2018 15:11                  Provider: Alarcon, Inerio MD/CD      Unit:       C01


Admin Note - Chart Review encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                Provider: Alarcon, Inerio MD/CD
          Inmate has a history of type 2 MD.
          Plan: A1c.

New Laboratory Requests:
   Details                                                Frequency              Due Date              Priority
   Lab Tests - Short List-General-Hemoglobin A1C          Recurring              01/01/2019 00:00      Routine
   Lab Tests - Short List-General-Hemoglobin A1C          Recurring              04/01/2019 00:00      Routine
   Lab Tests - Short List-General-Hemoglobin A1C          Recurring              06/30/2019 00:00      Routine
   Lab Tests - Short List-General-Hemoglobin A1C          Recurring              09/28/2019 00:00      Routine
Copay Required:No                            Cosign Required: No
Telephone/Verbal Order: No
Completed by Alarcon, Inerio MD/CD on 12/20/2018 15:14




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